     Case 2:10-cv-02203-MMD-GWF Document 2066 Filed 10/20/20 Page 1 of 2




 1                    IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEVADA
 2

 3
      FEDERAL TRADE COMMISSION,                    Case No.: 2:10-cv-02203-MMD-GWF
 4

 5                             Plaintiff(s),
 6       vs.
 7
       JEREMY JOHNSON, etc., et al.,
 8

 9                             Defendant(s).
IO
11                               SUBSTITUTION OF ATTORNEY
12 Robb Evans of
13 Robb Evans & Associates LLC, court-appointed receiver,                   hereby substitutes
                   (Name of Party)
14
       Michael F. Lynch of Lynch Law Practice, PLLC, as sole replacement local counsel,
15                                             (New Attorney)

16    (Address): 3613 S. Eastern Ave., Las Vegas, NV 89169
17
      (Telephone): (702) 684-6000                         , as attorney of record in place and
18

19
                                                  (Present Attorney)


                                                      '~£
20

21    DATED:      \0- l'3-~o.?-u
                                                                       (Signature of Party)
22
      I consent to the above substitution.
23



25
                                                         ~=:Attorney) ---
                                                      KOLESAR & LEATHAM, CHTD.
26                                                    Robert John Kolesar, NV Bar No. 279
                                                      Nile Leatham, NV Nevada Bar No. 2838
27                                                    PO Box 370147
                                                      Las Vegas, NV 89137
28                                                   1                                           619S
     Case 2:10-cv-02203-MMD-GWF Document 2066 Filed 10/20/20 Page 2 of 2




 I    I am duly admitted to practice in this District.
 2 Above substitution accepted.
 3    DATED: _ 10/20/2020
               _ _ _ _ _ __                              /s/ Michael F. Lynch
                                                              (Signature ofNew Attorney)
 4

 5
      Please check one: X_RETAINED,or _ _ APPOINTEDBYTHECOURT
 6

 7
                                           APPROVED:
 8

 9
      DATED: 10/20/2020
10                                                  UNITED STA1ES DISTRICT JUDGE
11
12

13

14
15

16
17
18

19

20
21

22
23
24

25
26
27
28                                              2
